                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT WINCHESTER

 UNITED STATES OF AMERICA,                          )
                                                    )
                Plaintiff,                          )
                                                    )
 v.                                                 )          Case No. 4:13-cr-11-HSM-SKL
                                                    )
 MICHAEL O. BROWN,                                  )
                                                    )
                Defendant.                          )

                                                ORDER

        Before the Court is the Motion to Discover Expert Testimony [Doc. 515] filed by

 Defendant Michael O. Brown (“Defendant”) [Doc. 515].       The motion was referred pursuant to

 28 U.S.C. § 636(b) [Doc. 521]. Plaintiff United States of America (“the government”) has filed

 a response [Doc. 524] and a “Notice of Expert Testimony” [Doc. 525] in which it identified

 experts and summarized the qualifications and testimony of the experts.   Defendant did not file

 a reply brief and the motion is now ripe. After considering the parties’ arguments, Defendant’s

 Motion to Discover Expert Testimony [Doc. 515] DENIED as MOOT as it appears the Notice

 resolves all issues raised in this particular motion.

        SO ORDERED.

        ENTER:

                                                s/fâátÇ ^A _xx
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE




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